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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES – GENERAL

 Case No.         8:17-cv-00746-JLS-JDEx                             Date       September 8, 2023

                  Steven Rupp et al v. Xavier Becerra et al
 Title



PRESENT: HONORABLE JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

         Gabriela Garcia                                             Wil Wilcox
         Deputy Clerk                                               Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF:                      ATTORNEYS PRESENT FOR DEFENDANT:


                Edwin Aiwazian                                       NOT PRESENT
                Joanna Ghosh




PROCEEDINGS:             DEFENDANT'S MOTION FOR SUMMARY JUDGMENT [149]

                         PLAINTIFFS' MOTION FOR SUMMARY JUDGMENT [150]




     The case is called and counsel state their appearance. The motion hearing is held.
The Court takes the motions under submission and a written order will issue.




                                                                                         :51

                                                                            Initials of Clerk: gga




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